Ao 133 (Rev. 12/09) Bill ofcoscs

UNITED STATES DISTRICT CGURT

for the
Northern District of Illinois

 

 

LG Electronics u.S.A., lnc. §
v. ) Case No.: 08-0-242
Whir|pool Corporation )
)
BILL OF COSTS
Judgment having been entered in the above entitled action on Mll___ against LG Electronics U.S./-\., |nC. ,
the Clerk is requested to tax the following as costs: Da,e
Fees of the Clerk .................................................................. $__* GM_
Fees for service of summons and subpoena .............................................. __ 11045£
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case ...... _ 1001422_£
Fees and disbursements for printing .................................................... GL
Fees for witnesses (i:emize on page rwo) ................................................... __21 '284&__
Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case ................................................. 276'8*2_5£
Docker fees under 28 U.s.C. 1923 ..................................................... ___ 0 190_
Costs as shown on Mandate of Couit of Appeals .......................................... __ _ U£q_
Compensation of court-appointed experts ............................................... ____ C£O_
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 ..... _ 9 564_'_07_
Other costs (please iremize) ............................................................. __ 121'24££
530,381 .67

TOTAL $

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories

 

Declaration

 

I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed A copy of this bill has been served on all parties

in the following manner:
Electronic service m First class mail, postage prepaid

E Other: n

 

A /\
s/ Attorney: _ \:>(\\//\v/`\ '/(-,,>L'(<{"/` )7/<</_

Narne of Attorney: Jennifer Yu|e DePriest

 

For: Whir|poo| COrDOratiOn Date! 09/09/2011

Name ofClaiming Party

 

 

Ta.xation of Costs

 

 

Costs are taxed in the amount of and included in the judgment

 

By:

 

 

Clerk ofCourt Deputy Clerk

Dale

AO l33 (Rev. 12/09) Bill of Costs

UNITED STATES DISTRICT COURT

 

Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

 

ATTENDANCE SUBSISTENCE MILEAGE
Total Cost

NAME , CITY AND STATE OF RESIDENCE Total Total Tota] Each Witness
Days Cost Days Cost Miles Cost

 

 

S E h'b`tE
ee xi l 0 21,234.8., $21,284.84

$0.00

$0.00

$U.OO

$0.00

$0.00

 

 

 

 

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NOTICE

Section 1924, Title 28, U.S. Code (effective September l, 1948) provides:
“Sec. 1924. Verification of bill of costs.”

“Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
that the services for which fees have been charged were actually and necessarily performed.”

See also Section 1920 of Title 28, which reads in part as follows:
“A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

The Federal Rules of Civil Procedure contain the following provisions:
RULE 54(d)(l)

Costs Other than Attomeys’ Fees.

Unless a federal statute, these rules, or a court order provides otherwise, costs _ other than attomey's fees _ should be allowed to the
prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

RULE 6

(d) Additional Time After Certain Kinds of Service.
When a party may or must act within a specified time after service and service is made under RuleS(b)(Z)(C), (D), (E), or (F), 3 days are
added after the period would otherwise expire under Rule 6(a).
RULE 58(e)
Cost or Fee Awards:

Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
timely motion for attomey's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.

 

 

